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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )
                         Plaintiff,               )
                                                  )                  8:06CR116
                vs.                               )
                                                  )                     ORDER
LAVELLE GILES,                                    )
                                                  )
                         Defendant.               )

        Defendant Lavelle Giles appeared before the court on August 24, 2012 on an Amended Petition
for Warrant or Summons for Offender Under Supervision [889]. The defendant was represented by
Assistant Federal Public Defender Shannon P. O’Connor, and the United States was represented by
Assistant U.S. Attorney Stephen D. Andersson on behalf of Meredith B. Tyrakoski. Through his counsel,
the defendant waived his right to a probable cause hearing on the Report pursuant to Fed. R. Crim. P.
32.1(a)(1). The government moved for detention. Through counsel, the defendant declined to present
any evidence on the issue of detention and otherwise waived a detention hearing. Since it is the
defendant’s burden under 18 U.S.C. § 3143 to establish by clear and convincing evidence that he is
neither a danger to the community nor a flight risk, the court finds the defendant has failed to carry his
burden and that he should be detained pending a dispositional hearing before Chief Judge Smith Camp.
        I find that the Report alleges probable cause and that the defendant should be held to answer for
a final dispositional hearing before Chief Judge Smith Camp.
        IT IS ORDERED:
        1.      A final dispositional hearing will be held before Chief Judge Smith Camp in Courtroom No.
2, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska, on
September 27, 2012 at 11:00 a.m. Defendant must be present in person.
        2.      The defendant, Lavelle Giles, is committed to the custody of the Attorney General or his
designated representative for confinement in a correctional facility;
        3.      The defendant shall be afforded a reasonable opportunity for private consultation with
defense counsel; and
        4.      Upon order of a United States court or upon request of an attorney for the government,
the person in charge of the corrections facility shall deliver defendant to the United States Marshal for the
purpose of an appearance in connection with a court proceeding.
        DATED this 24th day of August, 2012.

                                                            BY THE COURT:

                                                            s/ F. A. Gossett
                                                            United States Magistrate Judge
